     Case:22-00062-ESL Doc#:60 Filed:04/27/23 Entered:04/27/23 13:32:57        Desc: Main
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 1                        IN THE UNITED STATES BANKRUPTCY COURT FOR
                                   THE DISTRICT OF PUERTO RICO
 2

 3
      IN RE:                                     CASE NO. 22-02380-ESL12
 4    LAS MARTAS INC                             Chapter 12
                        Debtor
 5
      SUIZA DAIRY, INC.                          ADVERSARY NUMBER: 22-00062-ESL
 6
                       Plaintiff
 7    CONDADO 5, LLC
               Defendant/Cross-Defendant
 8
      VAQUERIA LAS MARTAS INC
 9
               Defendant/Cross-Claimant               FILED & ENTERED ON APR/27/2023
10

11                                            ORDER

12         On March 22, 2023, the debtor/defendant, Vaqueria Las Martas, Inc., filed

13   a motion for summary judgment (docket #42).         Debtor/defendant "requests that

14   the Court enter summary judgment in its favor directing Plaintiff Suiza Dairy

15   Inc. to pay the receivables at issue to Debtor, free of any lien of Condado 5,

16   LLC, including all amounts paid into Court pursuant to this interpleader case

17   and the Orders entered in the main case at Docs. 55 and 92, except that the

18   pre-petition receivable in the amount of $3000 should be paid to Condado 5 and

19   applied to the balance due under its loan." The motion does not include a

20   response time.    Therefore, the court hereby orders Condado 5, LLC to oppose the

21   motion within thirty (30) days.       Upon failure to timely reply, the motion for

22   summary judgment may be granted.

23         IT IS SO ORDERED.

24         In San Juan, Puerto Rico, this 27 day of April, 2023.

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